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                                                            EXHIBIT 10         1




 1                       THE UNITED STATES DISTRICT COURT

 2                                FOR THE DISTRICT OF OREGON

 3                                     MEDFORD DIVISION

 4

 5     ARNAUD PARIS,                            )
                                                )
 6                     Petitioner,              )   Case No. l:22-cv-01593-MC
                                                )
 7                           v.                 )
                                                )   December 7, 2022, 2:51 PM
 8     HEIDI MARIE BROWN,                       )
                                                )
 9                     Respondent.              )
       _______________                          )
10                                                                                  i
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12

13                                         COURT TRIAL

14                                  EXCERPT OF PROCEEDINGS

15                   BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                      UNITED STATES DISTRICT COURT JUDGE

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                                                                            2




 1                                   APPEARANCES

 2

 3     FOR THE PETITIONER:
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 4                              McKinley Irvin PLLC
                                1501 4th Avenue
 5                              Suite 1750
                                Seattle, WA 98101
 6

 7     FOR THE RESPONDENT:
                                KATELYN D. SKINNER
 8                              Buckley Law PC
                                5300 Meadows Road
 9                              Suite 200
                                Lake Oswego, OR 97035-8617
10

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16     COURT REPORTER:       Kendra A. Steppler, RPR, CRR
                             United States District Courthouse
17                           District of Oregon
                             405 E. 8th Avenue, Room 2100
18                           Eugene, OR 97401

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 1                            ***EXCERPT OF PROCEEDINGS***

 2

 3                  THE COURT:     Can we start with wrongful removal?

 4     Because I'm still not hearing you talk about

 5                  MS. SKINNER:      The -- our arguments

 6                  THE COURT:     -- the underlying agreement

 7                  MS. SKINNER:      The

 8                  THE COURT:     -- by which the children left for the

 9     United States.        And, I agree, there are some credibility issues

10     with some of the explanations that don't make a lot of sense by

11     Mr. Paris.     But, I'll be honest, I'm not sure if the

12     explanation that your client gave about Exhibit 23 is

13     particularly credible.         I know she kept saying it's made out of

14     context.     But I've yet to see what other context there is,

15     especially in light of the fact that on October 7th, she filed

16     a petition totally revoking any interest in the

17     July 19th agreement.

18                  MS. SKINNER:      Thank you, Your Honor.       And I'll

19     address both points.        As to the intent of Ms. Brown at the time

20     she entered into the July agreement, I think she testified,

21     credibly, that she negotiated that agreement for hours and

22     hours.     There was discussions back and fork about health

23     insurance and all of the conditions that were placed.                   She had

24     already started to do the work to put those things --

25                  THE COURT:     Right.



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 1                  MS. SKINNER:          in motion.     And if she had had a

 2     plan to not follow through with the July agreement, then why

 3     would she get her French visa renewed in September of 2022, or

 4     take the steps to get it renewed?

 5                  THE COURT:     But what she told me is that she wanted

 6     to leave her options open, which tells me that she believed she

 7     had the unilateral ability to simply keep the children in the

 8     United States.        And she certainly has -- is attempting to do

 9     that by the October 7th filing.

10                  MS. SKINNER:      And I'll address the October 7th filing

11     in just a moment with the testimony about keeping options open.

12     I think we need to look at that in light of the flip-flopping

13     that Mr. Paris had done at that point.                And I think her

14     credible testimony was, in discussions with her lawyer, it was

15     what do I do if he reneges on this again?                What can I do?

16     What       could a plan be put into place if that happens?                 I need

17     something with security.

18             And what we don't have in evidence is any evidence that

19     show that she took -- and I'll get to the October 7th custody

20     pleading in just a moment -- so that aside, she took no steps

21     to renege on the July agreement.           And, in fact, the opposite is

22     true.     She took all of the steps to keep that agreement upheld

23     and in place.

24             There's no evidence to show that there was an appointment

25     scheduled with an Oregon lawyer for July 29th, plus six months,


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  1       so that she could go in there and get the petition filed.
  2       There was no petition for custody that was drafted up and ready
  3       to go so that on six months and a day, that that could be done.
  4       Because she didn't take any steps to breach the agreement.
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19                 Now, Mr. Paris• counsel had much to say about Mr. Paris'

20        illness.           But I haven't heard any testimony or received -- I

21        didn't receive one piece of evidence brought into this court

22        about a single condition, symptom, or any impact that it had on

23        Mr. Paris' daily living, except that he takes some B12 vitamins
24        and goes and sees a doctor occasionally.

25                 But, more importantly, the information about his disease


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 1     was known to him at the time of the July agreement, which was

 2     why all of those conditions were built into the July agreement,

 3     which was why Ms. Brown went to all of the lengths that she did

 4     to ensure that Mr. Paris' medical condition would be adequately

 5     met in the U.S.

 6           Mr. Paris indicates, in his closing argument, again, that

 7     this is not a best interest determination in the court to date.

 8     We know that.     The state court level will determine what's in

 9     the kids' best interest.      He brought up a reference to

10     Exhibit 27, wherein Ms. Brown was indicating to Mr. Paris that

11     the kids were concerned for their dad.           They were afraid he was

12     going to die.     And that's because that's what he told them.              He

13     was manipulating them and said, "Your dad is going to die."

14           And so he's bringing his kids into the case.             And we have

15     evidence of that from just earlier this morning, where

16     Mr. Paris is messaging with Ms. Brown, just recently, saying,

17     you know, "I'm" -- basically            "I'm telling the kids that

18     we're moving to Paris at the end of this court case.               So you

19     better get your act in gear."          And so we have evidence that

20     he's been bringing the kids into these inappropriate

21     communications.

22           Now, Mr. Paris argues, and his counsel argues in closing

23     argument, that he didn't consent to enrollment in Oregon

24     school.   But he sure consented to unenrollment in French school

25     well before even the July agreement.           That was something that


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 1     they then remained unenrolled in the French system until much,

 2     much later, when he attempted to reenroll the children there.

 3           Now, he's indicating that he is not, quote,             11   On the lease

 4     to the Oregon property. 11       But he I s an authorized resident of

 5     that lease.     He has the right to -- and that's how that was set

 6     up.   He also agreed to put the -- one of their children's

 7     four-year musical program on hold for a year.              That was done.

 8     And so steps were taken to ensure that the parties' move for

 9     one year was put into motion.

10           And the one-year pause on the program, of course, was also

11     agreed to by Ms. Brown.         She didn't say that the children need

12     to be removed from school altogether and taken out of that

13     program.     She went along and agreed, equally, with the proposal

14     that the children's schooling in France would be put on hold,

15     and that that program would be reserved for them.

16           Now, there's one other case that I'd like to bring to the

17     Court's attention if this Court finds that the facts fit this

18     situation.     And that's the idea of whether or not Mr. Paris is

19     bringing this action prematurely having to do with the question

20     about anticipatory breach.           And that is the Toren v. Toren

21     case, cited also in my briefing, 191 F.3d 23 --

22                  THE COURT:     Right.

23                  MS. SKINNER:      -- which talks about a father who was

24     petitioning to a claim that the mother had made an intent to

25     retain the children past their agreement.             But that date had


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 1     not been reached yet.      And the court held there that father's

 2     argument was based on mother's future intent, and that the

 3     father was seeking a judicial remedy for an anticipatory

 4     violation of the Hague Convention.        But the Hague Convention

 5     only provides a cause of action to petitioners who can

 6     establish actual retention.      And so that was merely

 7     anticipatory retention.

 8           We've got the same facts here if the Court finds that

 9     Ms. -- even if the Court does find that Ms. Brown has made an

10     anticipatory retention, which we argue she hasn't -- no steps

11     were taken -- the October 7th Oregon custody petition was for a

12     separate reason, again, to protect and preserve the July

13     agreement to keep the children here.

14           And so this -- and then I also want to touch, just

15     briefly, on habitual residence.        Because I think that --

16     depending upon if the Court finds there was a wrongful removal

17     or retention, that does not begin and end our discussion about

18     habitual residency being in France.        Because if the Court

19     finds, for example, that there was a wrongful removal or

20     retention, and if the Court sets the date of October 7th, for

21     example, I think there's still a pretty strong argument that,

22     on October 7th, the facts under a Monasky analysis show that

23     Oregon was, in fact, the children's habitual residence at that

24     time, because France had been abandoned.          And the evidence

25     shows that the children pretty quickly assimilated into their


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 1     surroundings here in Oregon.

 2           And so, in closing, Your Honor, we argue that there was no

 3     wrongful removal or retention.          If there was, we argue the

 4     defense of consent.       And if the Court finds that the defense of

 5     consent is satisfied, that's the end of the discussion.

 6     There's no more habitual residence argument.              Thank you, Your

 7     Honor.

 8                 THE COURT:     Okay.

 9           Reply?

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11                (Excerpt of proceedings concluded at 3:02 PM.)

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 1                              C E R T I F I CA T E
 2

 3                       Arnaud Paris v. Heidi Marie Brown
 4                            Case No. l:22-CV-01593-MC
 5                               Court Trial Excerpt
 6                                 December 7, 2022
 7

 8           I certify, by signing below, that the foregoing is a true
 9     and correct excerpt of the record, taken by stenographic means,
10     of the proceedings in the above-entitled cause.             A transcript
11     without an original signature, conformed signature, or
12     digitally signed signature is not certified.
13

14      / s /Kendra A. Steppler, RPR,    CRR
       Official Court Reporter                 Signature Date: July 31, 2023
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